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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
            v.
 DIMITRE HADJIEV                                    CRIMINAL NO. 19-548
                      Defendant.

                                         ORDER

       AND NOW, this 29th day of November 2022, upon consideration of counsel for

Defendant Daniel M. Pell Esq.’s Motions to Withdraw as Counsel [Doc. Nos. 271, 272], on

which the Government takes no position, and to which Defendant Dimitre Hadjiev has no

objection, it is hereby ORDERED as follows:

       1. Daniel M. Pell Esq.’s Amended Motion to Withdraw as Counsel [Doc. No. 272] is

          GRANTED.

       2. Daniel M. Pell Esq.’s Motion to Withdraw as Counsel [Doc. No. 271] is

          DISMISSED as moot.

       It is so ORDERED.

                                                 BY THE COURT:

                                                  /s/ Cynthia M. Rufe
                                                 _____________________
                                                 CYNTHIA M. RUFE, J.
